Petitioner in No. 17-1618, respondents in No. 17-1623, and respondent Aimee Stephens in No. 18-107 shall file their briefs on the merits, pursuant to Rule 33.1(g)(v), on or before Wednesday, June 26, 2019. Respondent in No. 17-1618, petitioners in No. 17-1623, and petitioner and respondent EEOC in No. 18-107 shall file their briefs on the merits, pursuant to Rule 33.1(g)(vi), on or before Friday, August 16, 2019. Reply briefs, if any, pursuant to Rule 33.1(g)(vii), shall be filed on or before Monday, September 16, 2019. Amicus curiae briefs shall be filed pursuant to Rule 37.3.